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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
                      NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                SECTION "N-4"
                                            JUDGE ENGELHARDT
                                            MAG. JUDGE ROBY




        DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
    IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
   CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                           U.S. EXHIBIT NO. 4
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Fact Sheet: Providing Continued Assistance For Gulf Coast Hurricane
Victims
Release Date: April 26, 2007
Release Number: HQ-07-042Factsheet

>> En Espafiol

Today, Federal Coordinator for Gulf Coast Rebuilding Donald Powell, Housing and Urban Development (HUD)
Secretary Alphonso Jackson and Federal Emergency Management Agency (FEMA) Administrator David Paulison
announced coordinated, additional measures to further assist Gulf Coast hurricane victims. These actions are
designed to provide longer-term permanent housing solutions to individuals displaced from Hurricanes Katrina and
Rita.

      Temporary housing assistance programs for Gulf Coast hurricane victims living in apartments, trailers or
      mobile homes have been extended by 18 months until March 2009. The current extension expires on August
      31, 2007.
      GCR, HLrD and FEMA are working on a plan whereby HUD would take over management of the rental
      housing program on behalf of FEMA beginning on September 1, 2007. GCR, HI.ID and FEMA are worldng
      on the mechanics of the new arrangement and will consult with Congress on the most appropriate structure for
      transferring management responsibilities.
      Beginning in March 2008, individuals in both the rental housing and trailer/mobile home programs will pay a
      portion of the cost, which will begin at $50 per month and incrementally increase each month thereafter until
      the program concludes on March 1, 2009.
      Beginning immediately, FEMA will allow residents of its mobile homes and travel trailers to purchase their
      dwellings at a fair and equitable price.
      Families and individuals in both the rental and trailer/mobile home programs will be given complete
      information, supportive services, resources and ample time to prepare themselves for the end of temporary,
      subsidized housing.

Rental Housing Assistance

Under the proposed parameters of the HUD-FEMA Disaster Housing Assistance Program (DHAP), FEMA would
provide resources to HUD to extend rental assistance to up to 40,000 hurricane-affected families. Families are
expected to experience a seamless transition under the new program.

HUD will use its extensive network of resources to provide residents in the proposed Disaster Housing Assistance
Program with the resources they need to rebuild their lives. While DHAP’s primary purpose would be to ensure
displaced families do not experience an interruption in rental subsidy when FEMA’s assistance expires at the end of
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the summer, the new program is also designed to assist families in continuing to move toward self-sufficiency.
Residents in the program would receive case management services coordinated by PHAs to help them get back on
their feet, including financial education, job training or other social services.

Under the proposed program, local public housing agencies would administer the program and work directly with
families.

Public Housing Agencies (PHAs) currently administer HUD’s existing Housing Choice Vouchers program (Section
8) and other HUD programs on the ground. To prepare families for self-sufficiency, families would receive full
rental coverage for the first 6 months of the 18-month period. On March 1, 2008, the level of subsidy would begin to
be reduced, which will gradually lead families toward independence.

Trailer/Mobile Home Assistance

FEMA will continue to manage its mobile home and travel trailer operations throughout the Gulf Coast, and Will
work with HUD and state and local leaders to identify more permanent housing solutions for those in mobile homes
or travel trailers.

Beginning on March 1, 2008, FEMA will charge a small, portion of the cost, beginning at $50 per month, andwill
increase the amount of rent charged incrementally until the family reaches its ability to pay, according to a FEMA
formula based upon income.

FEMA is also giving residents the option to purchase the unit they currently are utilizing under the new Temporary
Housing Units Sales-to-Occupants program. By purchasing the unit, the applicant accepts all responsibility and
liability of the housing unit. There will be no substitutions or exchange of units. When necessary, FEMA will makg
appropriate repairs to ensure the unit being sold is habitable. Sales taxes, permits, and inspection costs are the sole
responsibility of the owner. The applicant must also agree to comply with local floodplain management codes.
Residents are not required to purchase their temporary housing unit. Units located on FEMA group sites will only be
sold when the applicant provides an alternate location for placement and proof of financial resources to move the
unit.

The sale price ofa resident’s unit will be calculated based on the type of unit, whether it was new or used at the time
the resident moved in and the number of months the resident has been living in the unit. The resident may have to
pay for other costs, such as local permit fees, and hazard and flood insurance (if required), and any cost associated
with moving the unit, if applicable.

Residents are eligible to purchase their unit if they are the applicant or the co-applicant listed on the FEMA
registration and are currently living in the temporary housing unit provided under FEMA’s Individuals and
Households, Housing Assistance Program. Once the sale is completed, the applicant and his or her household
members will not be eligible for continued temporary housing assistance.

Residents will be contacted by FEMA with information on how they can purchase their units. Residents who are
currently occupying a mobile home or park model, and would like to purchase their unit as their permanent housing,
will be required to provide receipts or verifiable estimates demonstrating that any original home repair assistance
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received was or will be used on eligible disaster-related expenses.

Applicants who purchase their unit must:

  1. Pay all applicable State sales taxes and other charges.
  2. Accept all responsibility and liability for the housing unit, including moving the unit to a permanent location
      within 30 days of the completion of the sale, if the unit is currently on a group site.
  3. Obtain local permits or inspections and provide copies to FEMA, as required.
  4. Comply with local floodplain management codes if the selected site is located within the 100-year floodplain
      or a designated Special Flood Hazard Area (SFHA).
  5. Provide proof of hazard insurance for the unit, including flood insurance if the unit is or will be located in a
      designated Special Flood Hazard Area.                                                                           .
